
*1192opinion.
Love :
In view of the facts in this case, and on the authority of the opinions and decisions in the cases of Henry Cappellini et al., 14 B. T. A. 1269; Grand Rapids National Bank, 15 B. T. A. 1166; Annie G. Phillips, 15 B. T. A. 1218; and Robert N. Parrett, 15 B. T. A. 1313, we hold that the petitioners are each liable as transferees of a part of the assets of the Waldo Lumber Co. in the amount of $352.05, with interest thereon as provided by law, limited however in the aggregate amount collected from petitioners to the amount of $352.05, plus interest as provided by law.

Judgment will be entered for the respondent.

